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12                                    UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                       SAN FRANCISCO DIVISION

15    UNITED STATES OF AMERICA,                            Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                    GOVERNMENT’S MOTION IN LIMINE
                                                           TO EXCLUDE EVIDENCE OF PRIOR
17                                                         COMPROMISE NEGOTIATIONS
                             v.                            BETWEEN THE UNITED STATES AND
18                                                         ROBERT SMITH
      CARLOS E. KEPKE,
19                                                         Hearing.:           November 21, 2022
             Defendant.                                    Time:               1:30 a.m.
20                                                         Place:              Courtroom 11, 19th Floor

21
            The government moves to exclude evidence derived from, and relating to, negotiations between
22
     the government and Robert F. Smith’s attorneys.
23
                                                 BACKGROUND
24
            Beginning in 1999 and continuing until 2015, Defendant created and managed an offshore trust
25
     structure for Robert Smith, one of his clients. The offshore trust structure was designed to conceal a
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     portion of Smith’s taxable income and evade federal income taxes on approximately $225 million of
27
     carried interest and capital gain income Smith earned from his management of private equity funds at
28
      GOVERNMENT’S MOTION IN LIMINE                    1
      TO EXCLUDE EVIDENCE
      UNDER FED. RUL. EVID 408
      Case No.: 3:21-CR-00155-JD
 1 Vista Equity Partners (“Vista”). On October 9, 2020, after nearly two years of negotiations between

 2 Smith’s attorneys (“Smith-attorneys”) and the government, Smith and his attorneys signed a Non-

 3 Prosecution Agreement (“NPA”) with the United States. See Exhibit 1. The terms of Smith’s NPA are

 4 public and required Smith, inter alia, to cooperate with the government in the ongoing investigation of

 5 Robert Brockman and Defendant. In connection with the NPA, Smith also signed a Statement of Facts,

 6 which is also publicly available, in which he admitted that the offshore trust structure Defendant

 7 (referred to as “Individual B” in the Statement of Facts) created and maintained for Smith was designed

 8 and used to hide Smith’s assets and tax liabilities from the IRS. See Exhibit 2. During ongoing

 9 negotiations, the Smith-attorneys made three formal presentations to the government attorneys in this

10 case (two in-person and one via letter). Smith did not attend any of these meetings. Smith did not meet

11 with the government until August 13, 2020. A Memorandum of Interview from that meeting was

12 prepared and disclosed to Defendant.

13           On October 20, 2022, this Court Ordered the government to provide Defendant with redacted

14 copies of the materials the Smith-attorneys provided to the government during their negotiation of

15 Smith’s NPA agreement. On October 28, 2022, this material was provided to Defendant.

16                                               ARGUMENT

17           The documents provided by the government to Defendant on October 28, 2022 related to the

18 Smith-attorneys’ negotiation for Smith’s NPA, and are inadmissible through Smith for three reasons: 1)

19 they are specifically excludable under Fed. R. Evid. 408; 2) Smith does not have any personal

20 knowledge about these meetings and documents and under Fed. R. Evid. 602 and cannot testify about

21 them; and 3) they constitute inadmissible hearsay under Fed. R. Evid. 801.

22            As a general matter, “conduct or a statement made during compromise negotiations” are

23 inadmissible in criminal1 and civil cases. Fed. R. 408. See also United States v. Roti, 484 F.3d 934, 945-

24 37 (7th Cir. 2007). The inadmissibility of statements made during plea negotiations is essential to

25 fostering effective investigation and prosecution of criminal cases. See United States v. Mezzanatto, 998

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27           1
             A limited exception exists for using such evidence in criminal cases where the evidence at issue
28 relates to “a claim by a public office in the exercise of its regulatory, investigative, or enforcement
   authority.” Fed. R. Evid. 408(a)(2). That exception does not apply here.
    GOVERNMENT’S MOTION IN LIMINE                     2
    TO EXCLUDE EVIDENCE
      UNDER FED. RUL. EVID 408
      Case No.: 3:21-CR-00155-JD
 1 F.2d 1452, 1456 (9th Cir. 1993), rev’d on other grounds 513 U.S. 196 (1995) (discussing policy

 2 considerations of Rule 410). The machinery of the criminal justice system requires candid discussions

 3 between attorneys representing cooperating witnesses/defendants and government attorneys. Id. These

 4 discussions are more effective if the negotiations between these attorneys, i.e. the terms of plea and

 5 cooperation agreements, are not be made public. Id. Of course, the final agreements between

 6 cooperating and immunized witnesses is subject to disclosure under Giglio, but disclosure of the details

 7 of the discussions the lead up to these final agreements serves no legitimate purpose. Defendants’

 8 attorneys have no incentive to be candid with the government about their clients if they believe these

 9 attorney to attorney negotiations will be made public. Circumvention of Rule 408 will have a chilling

10 effect on open and candid plea negotiations, and the ability of the government to more efficiently move

11 criminal investigations toward conclusion. See United States v. Mezzanatto, 998 F.2d 1452, 1456 (9th

12 Cir. 1993). While the Mezzanatto Court discussed the policy considerations behind Rule 410, these

13 policy considerations apply equally to Rule 408. See, e.g., Aspen Title & Escrow v. Jeld-Wen, Inc., 677

14 F. Supp. 1477, 1484-85 (D. Or. 1987) (“The same policy considerations which establish the need for

15 Rule 408 to cover all statements, establish the need to have settlement conferences in their entirety

16 covered.”).

17          The materials provided to the government by Smith’s attorneys are also not admissible for the

18 purposes of impeaching witnesses. Fed. R. Evid. 408(a); Committee Notes on Rule—2006 Amendment

19 (“Such broad impeachment would tend to swallow the exclusionary rule and would impair the public

20 policy of promoting settlements.”). Since Smith was not present at these attorney conferences these

21 discussions are not properly available to impeach him. Fed. R. Evid. 613 (limiting impeachment to the

22 declarant-witness’ prior statement).

23          In addition, Smith lacks personal knowledge concerning the materials his attorneys provided to

24 the government during plea negotiations. Under Rule 602, “[a] witness may testify to a matter only if

25 evidence is introduced sufficient to support a finding that the witness has personal knowledge of the

26 matter.” Smith cannot testify about statements made, or documents exchanged, at a meeting he did not

27 attend. See United States v. Freeman, 498 F.3d 893, 904 (9th Cir. 2007) (admissible lay testimony

28 requires personal knowledge of underlying facts). See also United States v. Cuti, 720 F.3d 453, 458 (2d
      GOVERNMENT’S MOTION IN LIMINE                  3
      TO EXCLUDE EVIDENCE
      UNDER FED. RUL. EVID 408
      Case No.: 3:21-CR-00155-JD
 1 Cir 2013) (general discussion of “personal knowledge” requirement under Fed. R. Evid. 602); Kassim v.

 2 City of Schenectedy, 415 F.3d 246, 251 (2d Cir. 2005) (exclusion from evidence of translated document

 3 offered through witness with no personal knowledge of document affirmed).

 4          Finally, any testimony by Smith about the documents exchanged, and statements made, by his

 5 attorneys at these meetings are inadmissible hearsay. Fed. R. Evid. 801. Defendant would presumably be

 6 seeking to ask Smith for his testimony regarding the out-of-court statements of his attorneys. While it is

 7 not immediate apparent how the Smith-attorneys’ out-of-court statements would be relevant to these

 8 proceedings, presumably they would be offered for their truth and constitute classic hearsay. None of

 9 the exceptions to the hearsay exclusionary rule appear to apply to these statements – making them

10 inadmissible.

11                                              CONCLUSION

12          For the reasons stated above, the Court should exclude any evidence regarding the discussions

13 between the government and Robert Smith’s attorneys under Rules 408, 602, and 801.

14

15 Respectfully submitted,                                      STEPHANIE M. HINDS
                                                                United States Attorney
16
                                                                s/ Corey J. Smith
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                                                                MICHAEL G. PITMAN
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20                                                              Trial Attorney
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21                                                              Attorneys for United States of America
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     GOVERNMENT’S MOTION IN LIMINE                   4
     TO EXCLUDE EVIDENCE
     UNDER FED. RUL. EVID 408
     Case No.: 3:21-CR-00155-JD
 1                                       CERTIFICATE OF SERVICE

 2

 3          I the undersigned do hereby certify that on the 7th of November 2022, I electronically filed the

 4 foregoing Government’s Motion In Limine to Exclude Evidence Under Fed. R. Evid. 408 with the ECF

 5 electronic filing system, which will send notice of electronic filing to counsel of record.

 6

 7                                                               /s/Corey J. Smith
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     GOVERNMENT’S MOTION IN LIMINE                    5
     TO EXCLUDE EVIDENCE
     UNDER FED. RUL. EVID 408
     Case No.: 3:21-CR-00155-JD
